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Exhibit A
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Attorneys for Petitioner/Plaintiff cueni Ur ne SUPERIOR COUR

SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF MONTEREY

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H-Y-H CORPORATION, a Case No. 4h Phau!
Delaware corporation,

PETITION FOR WRIT OF

Petitioner and MANDATE AND COMPLAINT
Plaintiff, FOR:
A. DECLARATORY RELIEF
VS. B. CONSTITUTIONAL
VIOLATIONS
COUNTY OF MONTEREY and C. INVERSE CONDEMNATION
DOES I through XX, INCLUSIVE, D. ESTOPPEL
Respondents and
Defendants. OVER $25,000
/
Petitioner alleges:
i. PARTIES
1. Petitioner H-Y-H CORPORATION is a Delaware

corporation, organized under the laws of, and qualified and
doing business in, the State of California, and the County
of Monterey. H-Y-H CORPORATION, its affiliates,
subsidiaries (including North Monterey Heights Corporation),
partners and joint venturers are hereinafter collectively

referred to as "HYH". HYH is an owner and optionee of

PETITION FOR WRIT OF MANDATE HYH v. COUNTY OF MONTEREY
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certain real property located in the County of Monterey as
hereinafter more particularly described.

2. Respondent COUNTY OF MONTEREY (sometimes
hereinafter the "County") is a public entity organized and
existing under the laws of the State of California. County
made the final CEQA determinations referenced in this
Petition and Complaint.

3. Petitioner is ignorant of the true names and
Capacities of Respondents sued herein as DOES 1 through 20,
inclusive, and therefore sues these defendants by such
fictitious names. Petitioner will amend this complaint to
allege their true names and capacities when ascertained.
Petitioner is informed and believes and thereon alleges that
each of said fictitiously named defendants is in some manner
responsible for the injury and damage to Petitioner alleged
herein.

4. Petitioner is informed and believes and thereon
alleges that all times herein mentioned, the Respondents
herein were the agents, servants, and employees of their Co-
Respondents, and in doing the things hereinafter mentioned
were acting within the course and scope of their authority
as such agents, servants and employees, with the permission
and consent of their Co-Respondents.

il. SUMMARY OF COMPLAINT

5. While the various wrongful acts and omissions of
Respondents and their impact on Petitioner's property and

rights are alleged below with particularity, this Summary is

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presented as an overview for the Court’s convenience and is
intended to supplement such detailed allegations.

6. In 1981, as a planning policy, the Board of
Supervisors of the County of Monterey established areas of
development concentration to be considered for possible
adoption in various areas of the County. The establishment
of areas of development concentration was part of the
county's General Plan Update and Area Planning process which
was then taking place. In 1982 the Board of Supervisors
designated the Rancho San Juan area north of the City of
Salinas as an Area of Development Concentration study area.
This study culminated in an adoption of the Greater Salinas
Area Plan ("GSAP"}, certification of an EIR, and the
designation of Rancho San Juan as an Area of Development
Concentration (with specific development principles and
guidelines) in October, 1986. County and City of Salinas
representatives cooperated in developing the GSAP.

7. The Rancho San Juan Area of Development
Concentration (the "ADC") consists of some 2100 acres under
ten or more separate ownerships. Of these lands, 671 acres
are owned in fee by, or are under option to, Petitioner.
The GSAP requires that a specific plan for the entire area
must be prepared as a precondition to approving any
discretionary projects in the ADC. Until May 1999,
Respondents have insisted that only the County could cause
said Specific Plan to be prepared.

8. In 1987 a Memorandum of Understanding was signed

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i] between the City of Salinas and the County which provided

2] that the Rancho San Juan ADC would be developed by the

3] County, with the City making no effort to annex the area to
4] the City until, at the earliest, after 2003. {See "MoU"

5] attached hereto as Exhibit "D", and incorporated by

6| reference herein.) The County did not act diligently to

7| adopt a Specific Plan for Rancho San Juan.

8 9. Petitioner's application for development of its

9| property within the ADC was accepted as complete in 1989,

10} was processed and proceeded to the Planning Commission in

11 1990, where the County tabled it pending completion of its
12| Feasibility Study and adoption of its Specific Plan for the
13] ADC. The County commissioned a Feasibility Study in 1989

14] preparatory to preparing and adopting County’s ADC Specific
15] Plan. County accepted the completed Feasibility Study in

16] 1991.

17 10. In 1992, the County rezoned the ADC to conform to
'18] the land use designations of the Greater Salinas Area Plan.
19] Opponents to the rezoning ("CCMC") sued the County on CEQA
20| grounds seeking a rescission of the new zoning. At the

21] request of County Counsel Douglas Holland, Petitioner agreed
22| to pay monies to settle the lawsuit if County would adopt an
23] enabling ordinance and enter into agreements for County

24] preparation of a Specific Plan and EIR for the ADC.

25 * 21. Thereafter, the County adopted the enabling

26] ordinance and entered into an agreement requiring Petitioner
27| to advance the funding for County preparation of a legally

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adequate Specific Plan and EIR. The County simultaneously
contracted with The Planning Center, a land use consulting
firm, to prepare those documents at a cost of $352,942 - and
to have public hearings on them before the end of 1994.

12. Based on this partial County performance of its
agreement respecting the CCMC litigation, H-Y-H
CORPORATION’s subsidiary, North Monterey Heights
Corporation, entered into an agreement with CCMC ("Agreement
Re Litigation", attached hereto as Exhibit "A", and
incorporated by reference herein), pursuant to which
Petitioner funded a settlement agreement between County and
CccMC ("Settlement Agreement", attached hereto as Exhibit
"BY, and incorporated by reference herein) and the rezoning
was rescinded by County, placing the HYH Property in what
planners call a “White Hole", i.e., a place on the zoning
map that is devoid of any zoning designation - hence
rendering it inconsistent with the land use designations for
the HYH Property in the General Plan and Area Plans.

13. By using ad hoc procedures’ unauthorized by State
Law, the County took years reviewing "screen check" draft
specific plans and multiple "administrative" draft specific
plans before belatedly circulating an official Draft
Specific Plan and Draft EIR in December 1998 - four (4)
years late. By that time, HYH had advanced more than half a
million dollars to cover the County's costs.

14. Following the adoption of the ADC in October of

1986, the County did not concentrate Greater Salinas Area

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1] development within the ADC, as contemplated by the Greater

2} Salinas Area Plan and the General Plan. Certain large

3| projects approved by County outside the ADC resulted in

4] initiatives, referendum petitions and legal challenges to

5] the County, further delaying the ADC specific planning

6] process.

7 15. In late 1998, following the death of the former

8| County Administrative Officer, the County hired a new County
9] Administrative Officer ("CAO"). In a March 1999 meeting,

2 the new CAO advised Petitioner for the first time that the
11 County's draft ADC Specific Plan and EIR (by now, five (5)

12| years in preparation) were not legally adequate , would

13] require another $200,000 worth of work, and that County

14] recommended abating processing of the ADC Specific Plan and
i5} EIR until County’s General Plan had been updated.

16] Petitioner, who had already advanced over half a million

i7| dollars under the Plan Preparation Agreement, demanded that
18| said processing continue and that responses to comments be
19} prepared by Consultant.

x 16. In May of 1999, the new CAO advised Petitioner in
21] a follow-up meeting that County was not going to continue

v County preparation of the Specific Plan and EIR for the

23| Rancho San Juan ADC pending the update of the County’s

24; General Plan, a process which was estimated variously by the
5 CAO, the County Counsel, and the Planning Director at two to
26] five more years. The CAO further advised that if Petitioner

27| wished to, it could assume from County the preparation of

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the Specific Plan prior to update of the General Plan, but

that County staff would recommend denial when the plan came

‘to hearing.

17. On October 12, 1999, over Petitioner's objections,

the County Board of Supervisors adopted Ordinance No. 04037,
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amending the County Subdivision Ordinance to prohibit fhe
establishment of water supply based on a reduction of
existing agricultural water use on a parcel outside of a
Subdivision Map application. Petitioner’s representatives
argued, and County Counsel opined, that such a prohibition
appeared to be inconsistent with the planning for and
implementation of the General Plan and GSAP policies related
to the ADC. A copy of Ordinance No. 04037 is attached
hereto as Exhibit "C", and incorporated by reference herein.

18. Petitioner filed this action to challenge the
action and inaction of the County in regard to the planning
and zoning of the ADC, including the land owned by or under
option to HYH. In particular, Petitioner seeks
extraordinary relief requiring the County, within a
reasonable time, to expeditiously complete preparation,
processing and adoption of its Specific Plan and EIR and to
adopt effective and constitutional zoning for the Rancho San
Juan ADC consistent with the GSAP. Additionally, Petitioner
seeks a declaration that Ordinance No. 04037 is void ab
initio and an award of damages for constitutional and

statutory violations and for uncompensated takings.

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IITl. ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

19. In 1979, County, through its Board of Supervisors
("Board") adopted a Growth Management Policy ("GMP")
declaring the importance of managed and orderly development.
The GMP and the County General Plan must be consistent with
one another. The GMP specifies that growth should be
channeled into planned development areas to help protect
prime agricultural land and natural resources within the
County. In 1979 and 1981 Petitioner acquired options to
purchase 671 acres of land in the Rancho San Juan area of
Monterey County immediately north of the City of Salinas.

In 1981 the Board added a new GMP Policy 3 to "Establish New
Areas of Development Concentration." To implement GMP
Policy 3, in 1982 the Board adopted the Monterey County
General Plan which designated an area north of the City of
Salinas commonly referred to as Rancho San Juan as an Area
of Development Concentration study area.

20. Following adoption of the County General Plan, the
County commenced work on the Greater Salinas Area Plan
("GSAP"). Among other things the GSAP process evaluated
alternative ADC locations and recommended adopting Rancho
San Juan as an Area of Development Concentration (the "ADC")
within the Greater Salinas Area Plan. During the GSAP
approval process, the City of Salinas expressed concerns
about the ADC and the County prepared an Environmental
Impact Report ("EIR") for the GSAP. In October of 1986. the

Board certified the GSAP EIR and adopted the GSAP according

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i] to criteria specified in the GMP. The GSAP designates

2] Rancho San Juan as an area of development concentration and
3} specifies that no development will take place until a

44 »pecitic Plan is adopted. The Specific Plan must include

51 the development guidelines and principles adopted as part of
6] the GSAP.

7 21. In December of 1986, following County adoption of
3 the GSAP designating the ADC, HYH began exercising its

9| options to acquire lands within the ADC. By 1989, HYH was

0] the owner in fee and optionee of 671 acres of real property
ij (the "HYH Property") situated in the ADC.

12] 22. Following adoption of the GSAP, Petitioner

13| inquired of the County when.the Specific Plan would be

14, prepared and was advised that the County lacked the funds to
15] prepare the Specific Plan and EIR. County further advised
16] Petitioner that County policy would not allow Petitioner to
17] either prepare or to fund County preparation of the Specific
18] Plan.

19 23. In 1987, the Board and the Salinas City Council

20; jointly adopted and signed a Memorandum of Understanding

21] ("MOU") recognizing urban growth areas for the City and

22) providing that future growth in the County would occur

23] within the ADC under County development authority with City
24] of Salinas review. A primary goal of the MOU was to

25|| preserve from development agricultural areas of the County
26} west and south of the City of Salinas by directing growth

27} north into the ADC. The MOU was amended and reaffirmed by

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County and the City of Salinas in 1993 and 1998. A copy of
said MOU is attached hereto as Exhibit "D", and incorporated
by reference herein.

24 Tn 1989,\ frustrated by County’s failure to fund
preparation of thé Specific Plan, HYH sought County
permission to submit an application for development ("North
Monterey Heights") of the HYH Property. County’s Planning
Director advised Petitioner that County would accept a North
Monterey Heights application if it included an
infrastructure master plan for the entire ADC. Petitioner
prepared and submitted a combined development permit
application for North Monterey Heights with this component.
Said application was comprised of applications for a
preliminary map, rezoning and General Plan amendment. The
General Plan amendment sought to eliminate the Specific Plan
requirement for the ADC and the rezoning sought to conform
existing zoning to the GSAP land use designations for the
H¥YH Property. Count" -“cented.the North Monterey Heights
application as complete and commenced processing the
preliminary map component.

25. At or about the time of the North Monterey Heights
application, County applied to the State of California for
Rural Renaissance funding to prepare a County initiated
Specific Plan and EIR for the ADC. The State of California
instead granted funds for the preparation of a "Feasibility
Study" for the ADC, which study commenced the same year. In

1990, the Planning Commission held a public hearing toJ

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i] consider the North Monterey Heights preliminary map

2| application and determined to defer any further processing
3] of any portion of the North Monterey Heights combined

4] development permit application until County completed the

5 Feasibility Study and had prepared and adopted a County

6] initiated Specific Plan for the ADC.

7 26. On January 16, 1990, County adopted Resolution No.
8] 90-25, designated the 3,035 acre Rancho San duan ADC as an
9] Area of Benefit and imposed predevelopment fees on the

10 properties in said area for the purpose of recovering the
if cost to County of preparing the Feasibility Study. A copy
12) of Resolution No. 90-25 is attached hereto as Exhibit "E",
13] and incorporated by reference herein. The cost of the

14) Feasibility Study is to be recouped by County from each ADC
15]| property owner proportionately as a precondition to

16) processing any application for development of each owners’
17] respective property.

18 27. The Feasibility Study was completed and accepted
19] by the County Board of Supervisors in 1991. The Feasibility
20] Study affirmed the ADC concept for the Rancho San Juan area
21 and recommended changes to land uses and densities within
22] the ADC in order to decrease groundwater use and seawater
23; intrusion. More specifically, the Feasibility Study

24] recommended a reduction of potable water use by converting
25} the ADC land uses from agricultural and grazing to

26, residential and light industrial at densities which would

27| save approximately 1,200 acre feet per year over then

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existing consumption levels. The Feasibility Study proposed
ceasing the agricultural water use on the parcels under
various private ownerships within the ADC and redirecting it
to support the residential, commercial and light industrial
uses designated in the GSAP, but at reduced densities. In
particular, the Feasibility Study recommended a Preferred
Alternative that reduced residential densities from the 5.1
unit per acre level specified in the GSAP to 1.85 units per
acre, and reduced and limited overall water consumption
within the ADC from then existing levels of over 3,000 acre
feet per year to 1,950 acre feet. The Feasibility Study
also recommended a resizing of GSAP designated industrial
and residential areas to correspond with economic
development projections and to accommodate long-term planned
growth in Monterey County. The Feasibility Study Preferred
Alternative included development guidelines addressing water
resources, transportation, biological resources, public
facilities, phasing, affordable housing, and expansion of
residential areas. These guidelines were intended to be
adopted for use in the Specific Plan.

28. On or about September 8, 1992, upon the
recommendation of County staff the Board adopted Ordinance
3627, amending Title 21 (Zoning) of the Monterey County
Code, thereby rezoning all property encompassed within the
GSAP, including Rancho San Juan ADC (the "Rezoning"). The
purpose of the Rezoning was both to comply with statutory

mandates that zoning conform to General Plan land use

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designations, and as one means of implementing the General
Plan, the GMP and the GSAP. By Ordinance 3627, the Rancho
San Juan ADC was zoned light industrial and high density
residential (5.1 unite ner acre), as required by state law
for consistency with /the landjuse and density designations,
of the GSAP.

29. On October 9, 1992, Concerned Citizens of Monterey
County et al. ("CCMC") filed a Petition for Writ of Mandate
challenging the Rezoning on CEQA grounds. The CcmMc
litigation had the potential to shut down all development
approvals in the Greater Salinas Area, and possibly
throughout the entire County. In order to settle said
lawsuit, County, through its then County Counsel Douglas
Holland, asked HYH to pay CCMC’s legal fees and to accept a
rescission of the Rezoning as it applied to the ADC, pending
the timely adoption of a Specific Plan for the ADC,
consistent with the recommendations of the Feasibility Study
for reduced densities and reductions in overall water
consumption. HYH agreed to County Counsel’s request, and
County took steps to initiate its Specific Plan and EIR. In
order to facilitate funding of that planning, and pursuant
to its agreement with Petitioner concerning the CCMC
litigation, on February 16, 1993 County adopted Ordinance
No. 3664, enabling County to enter into agreements with
private parties for fee reimbursements for environmental

studies and plan processing (the "Reimbursement Ordinance") .

30. Over a year after the adoption of the
PETITION FOR WRIT OF MANDATE HYH v. COUNTY OF MONTEREY

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Reimbursement Agreement, the County Board of Supervisors
acted on March 22, 1994, to pass and adopt Agreement No. A-
06516, attached hereto as Exhibit "F", and incorporated by
reference herein. Agreement No. A-06516 included that
certain Agreement For Preparation, Processing and
Reimbursement for Specific Plan and Environmental Impact
Report ("Plan Preparation Agreement") between County and
North Monterey Heights Corporation, a subsidiary of H-Y-H
CORPORATION, for payment of reimbursable costs for County
preparation of the Environmental Impact Report ("HIR") and

Specific Plan for the Rancho San Juan Area of Development

included in Exhibit "F", attached hereto. The Board
concurrently approved an Agreement for Consultant Services”

for Preparation of a Specific Plan and an Environmental

Specific Plan. A copy of the Consultant Contract is

included in Exhibit "F", attached hereto.

Concentration. A copy of said Plan Preparation Agreement is

Impact Report ("Consultant Contract") between County and The
Planning Center (sometimes hereinafter the "Consultant"}) for

the preparation and processing of a legally adequate EIR and

31. Among other things, the Plan Preparation Agreement

CCMC litigation are a reimbursable cost and expense of
preparing the Specific Plan and the EIR, and that the
parties shall work cooperatively and diligently to insure

adherence to the schedule for preparation of the Specific

specifies that the costs and fees incurred by North Monterey

Heights Corporation in connection with the settlement of the

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i] Plan and EIR that is incorporated in the Consultant

2] Agreement. That schedule specified bringing County's

3} Specific Plan and EIR through public hearings in thirty-

4] eight (38) weeks, i.e., by December 13, 1994.

5 32. HYH timely tendered all requested payments under

6] the Plan Preparation Agreement to County on or about March

7} 29, 1994 ($114,660), April 24, 1995 ($13,000), June 8, 1995

8 ($100,000), June 12, 1995 ($16,090), March 4, 1996

94 ($64,350), November 12, 1995, $85,146.50 (which included

10] $49,039 paid to County and $36,113.50 in costs and fees

i1] related to the CCMC litigation that were reimbursable under

12] the Plan Preparation Agreement), October 6, 1997 ($48,630),

13) March 12, 1998 ($20,000), April 14, 1998 ($24,842) and

14] January 29, 1999 (329,000) . The total sum presently

15], reimbursable to Petitioner under the Plan Preparation

164 Agreement is therefore $515,718.50.

17 33. The Consultant Contract incorporates a County

18| scope of work which requires The Planning Center to prepare

19| a legally adequate Specific Plan and EIR for the County that

20| incorporates the Preferred Alternative of the Rancho San

21/ Juan ADC Feasibility Study and implements the General Plan

22} and the Greater Salinas Area Plan, including its Rancho San

3] Juan ADC development guidelines and principles. The

44} Consultant Contract specified completion of the Specific

25| Plan and EIR preparation and hearing process by December

26] 1994 at a cost of $352,942. That schedule was also

27; incorporated as a condition of County’s Plan Preparation

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1] Agreement with North Monterey Heights Corporation. The

24 Consultant Contract specifies that Specific Plan assumptions
3] are to be established by the Preferred Alternative of the

4, Feasibility Study and County’s Scope of Work based thereon.
5] See Scope of Work included in Exhibit "F", hereto.

6 Ba, Because County had partially performed its

7} agreement with HYH respecting the CCMC litigation by

8] commencing the Specific Planning process, Petitioner entered
9| into an "Agreement Regarding Litigation" with CCMC

10/ ("Agreement RE Litigation", attached hereto as Exhibit "A"),
11] and paid settlement monies on behalf of the County. A

12]| separate Compromise and Settlement Agreement (the

13 "Settlement Agreement") was entered into between CCMC and

14] County on October 21, 1994. A copy of said Settlement

15] Agreement is attached hereto as Exhibit "B". Pursuant to

i6| the Settlement Agreement, County rescinded that portion of
17} the Rezoning applicable to the ADC. The Settlement

18] Agreement also provides in pertinent part that upon receipt
19| of any application for discretionary development within the
20] ADC, County shall require the prepayation of af Specific Plan
21] for the entire ADC as required bv then existing land ” use

22| regulations . The Settlement Agreement also anticipated that
23} County could initiate rezoning of the ADC, subject to

24] appropriate environmental analysis.

25 35. County's preparation of the Specific Plan

26) progressed very. slowly due to numerous delays occasioned by
27] County. It took two to three years for the County to

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prepare a screen check Draft Specific: Plan, circulate it to
County Departments, the City of Salinas, and local, regional
and state agencies for comment, and to prepare a first
administrative Draft Specific Plan, which the County
returned to the consultant. In 1997 a second administrative
Draft Specific Plan and an administrative draft EIR was
circulated by County to its own departments, the City and
local, regional and state’ agencies for comment. Finally,
after screen check drafts of the Specific Plan and EIR were
thus circulated, in December 1998 a Draft Specific Plan and
Draft EIR were circulated for public review by the County.
The Draft Specific Plan and EIR were thus circulated for
public review four (4) years behind schedule and four (4)
years and eight (8) months after County contracted for their
preparation. Before the initial comment pericd closed on
said documents, County extended the comment period for
another forty (40) days.

36. When the comment period finally closed on March
19, 1999, approximately 400 comments had been received. HYH
requested County to direct the Consultant to prepare
responses to all comments. Petitioner advised County that
it was ready, willing and able to provide any information
and/or additional funds over budget with which to complete
processing of County’s Specific Plan and certification of
the EIR in accordance with the Plan Preparation Agreement.

37. In late 1998, following the death of the County

Administrative Officer, the County hired a new County

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Administrator. On March 24, 1999, Petitioner and his
representatives met with the new County Administrative
Officer, Planning Director, Chief of Planning Services,
Intergovernmental Affairs representative, and then County
Counsel Douglas Holland in order to discuss County's
reaction to the comments which had been received.
Respondents generally advised Petitioner that, based on
Respondents’ initial review of the comments, the draft
Specific Plan prepared for County would require major
amendments in order to be made legally adequate. County
estimated the cost to HYH to make such modifications would
be approximately an additional $200,000 over and above the
$515,000 already advanced by Petitioner under the Plan
Preparation Agreement . (The Plan Preparation Agreement and
Consultant Contract budgeted completion of the Specific Plan
and EIR for a cost of $352,942.)

38. At the March 24, 1999 meeting, Petitioner was also
advised for the first time that County recommended
postponing further processing of its Specific Plan and EIR
until County had updated its General Plan. County’s CAO
stated that while the ADC may once have made sense, times
had changed, as reflected by increasing public and political
opposition to large projects approved by County and the City
of Salinas. Petitioner responded that it wished County to
proceed with preparation and processing of the Specific Plan
and BIR and demanded that County authorize the Consultant to

prepare responses to the comments as specified in the Plan

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Preparation Agreement. After all, by this time Petitioner

had advanced the County more than a half million dollars to

fund its planning work - and the County was now proposing to

simply shelve the process. County’s Planning Director
agreed as an interim measure to authorize the Consultant to
undertake a preliminary analysis of the comments which had
been received. Petitioner and County agreed to set a new
meeting date when said work was completed.

39. County authorized The Planning Center to provide
limited analysis of the comments on the draft Specific Plan
and EIR. County limited that review to a classification of
the comments into four (4) categories: fundamental issues,
policy level issues, issues requiring additional
research/analysis, and comments raising no new issues or
requiring only minor clarification/elaboration. The
clarification by the Consultant identified only four (4)
fundamental issues and thirty-two (32) policy level issues
out of more than four hundred (400) comments. The analysis
was distributed to County and other agency staff by a
memorandum from the County project planner dated April 21,
1999. The transmittal memorandum stated that County
departments would meet and confer twice regarding the
comments in preparation for a May 13, 1999 meeting with
project proponents to indicate how the County would address
the comments.

40, Then, by memorandum dated May 12, 1999, County's

Chief of Planning Services recommended to County’s Planning

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1] Director that any applicant-funded work on the Specific Plan
2} for the ADC be suspended pending further analysis by County.
3; County’s stated rationale for halting County preparation of
41 the Specific Plan and the EIR after five (5) years of

5] preparation at Petitioner’s expense was that issues

6| regarding development within the ADC would be more

7| appropriately addressed within a soon to be initiated County
8, General Plan Update program and any subsequent area plan

9| refinements. However, County has never passed or adopted a
10| moratorium on development or planning in the GSAP area

11] pursuant to Government Code section 65858, or otherwise.

12] Nor has County or any court declared County’s General Plan
13] invalid.

14 41. On May 13, 1999, the scheduled meeting took place
15} between Petitioner and its representatives, County

16] Administrative Officer ("CAO") Sally Reed, County Counsel
.17] Douglas Holland, Director of Planning & Building Inspection
18] William Phillips, Consultant and certain of its

19} subcontractors, and senior County officials from concerned
20] County departments (Director of Environmental Health

21]| Division, Walter Wong; Director of Water Resources Agency,.
22] Michael Armstrong; Chief of Planning Services, Nick Chuilos;
23| Intergovernment Affairs, Jim Colangelo; two representatives
24] from the Sheriff's Department; two representatives of the

23} Fire Department; Public Works, George Devine; Director of

26] Monterey County Library, Bob McElroy; Tax

27) Collector/Treasurer Louis Solton; Interim Public Works

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Director, Louis Garcia; and Water Resources Agency, Al
Mulholland.) Respondents repeated that its Specific Plan
and EIR would require major revision at a cost of
approximately $200,000. Petitioner responded that it was
County’s responsibility to prepare a legally adequately
Specific Plan and EIR, but that all deficiencies in the work
done for the County, as reflected in the comments, could and
should be addressed through additional studies, mitigations
and alternatives in revised drafts of the Specific Plan and
EIR,

42. Also at the May 13, 1999 meeting, County’s CAO

stated that: a} County would not resume preparation of the

Specific Plan and EIR until after the General Plan update

was completed, and only then if there was still an ADC
designated for the Rancho San Juan ADC as a result of the
update; b) if HYH wished to advance the preparation of the
Specific Plan and EIR prior to completion of a General Plan
update, HYH would have to assume from the County the role of
project proponent and prepare and submit said documents to
County on its own; and c) County staff would recommend

denial of the HYH’s Specific Plan if brought to hearing
before the General Plan update was completed. In view of
the CAO's position regarding Specific Plan and EIR
preparation, the County department representatives did not
indicate how they proposed to address the comments that had
been received.

43. Following the meeting of May 13, 1999,

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Petitioner's representatives again demanded that Respondents
recommence preparation of the Specific Plan and EIR,
starting with Consultant's response to comments.

Thereafter, two and one-half months later, by letter dated
July 30, 1999, County Counsel Douglas Holland advised
Petitioner’s counsel that County would resume processing of
the Specific Plan and EIR. Petitioner is informed and
believes, and thereon alleges, that processing never resumed
and that County instructed the Consultant to suspend all
work on the Specific Plan and EIR.

44, Prior to ceasing preparation of its Specific Plan, |
County had been approving development for projects requiring
changes in the existing General Plan and Area Plan land use
designations, and such projects had been defeated or
withdrawn in the face of initiatives, petitions qualifying
ballot referendum measures and legal challenges.

Thereafter, Respondents proposed a number of legislative
measures antithetical to large development projects:

a. In April, 1998, County supervisor Perkins
requested former County Counsel Douglas Holland to prepare
an ordinance that would have prevented large-lot
subdivisions. The ordinance drafted by County Counsel
contained no exception for the Rancho San Juan ADC or
subdivisions pursuant to a Specific Plan for said area.
Petitioner's representatives objected to said ordinance and
requested County Counsel to recommend inclusion of an

exemption for the ADC. County Counsel declined to recommend

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if such exception. Ultimately, County’s Board of Supervisors
2] ("Board") did not adopt the proposed ordinance

3 b. On or about September 14, 1999, County

4] Administrative Officer Sally Reed proposed for Board

5| consideration a resolution abating any further County

6] initiated General Plan amendments or Specific Plans pending
7| update of the County General Plan. Said resolution would

8| have formalized the County’s cessation of work on the ADC

9| Specific Plan. Petitioner’s representatives vigorously

10] objected to said resolution on the ground that it: was

11] inadequately noticed; improperly set on the consent agenda
12] for approval without public comment; would constitute a

13} breach of the Plan Preparation Agreement and the Settlement
14] Agreement; and would be inconsistent with the GSAP policies
15] and guidelines for the ADC and the draft Specific Plan. On
16] September 13, 1999 the Board responded to Petitioner's

17] objections by pulling the proposed resolution from its

18} agenda without formal action and tabling it indefinitely.

19 Petitioner is informed and believes, and thereon alleges,

20/ that the Board also voted that date to terminate County

21] Counsel Douglas Holland, who resigned his position as County
22| Counsel that day.

23 Cc. Commencing in February, 1999, County staff
24] recommended amendments to the County’s Subdivision

25 ordinance, Title 19, prohibiting the establishment of water
26) supply based on a reduction of existing agricultural water

27| use on a parcel outside of a subdivision map application.

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Respondent is the lead agency responsible under CEQA for
evaluating the environmental impacts of said amendments,
which constitute a project under CEQA. Petitioner objected
to the ordinance containing said amendments in writing each
time it was thereafter brought before County decision-makers
for hearing on the grounds that such a prohibition as worded
appeared inconsistent with the planning for and
implementation of the ADC, including the GSAP, the Plan
Preparation Agreement, the MOU, the Settlement Agreement,
and the draft Specific Plan, and that significant
unmitigated impacts required additional CEQA analysis. At
an October 12, 1999 Board hearing on said ordinance, Acting
County Counsel Adrienne Grover advised the Board that
adoption. of the proposed amendments would preclude the
coordinated and planned development contemplated by County's
plan policies for the ADC. Despite Petitioner’s repeated
written and oral objections and requests for language
exempting the ADC from the effect of the ordinance, on
October 12, 1999, the Board passed said ordinance without
such modification, and adopted a negative declaration as its
final action. A copy of Ordinance No. 04037 enacting said
amendments is attached hereto as Exhibit "Cc".

45. Petitioner is informed and believes, and thereon
alleges, that it would be futile for Petitioner to seek any
discretionary development approvals for its property,
including. any variance, or any change in GSAP land-use

designation or rezoning, by any méans other than the

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processing and adoption of a Specific Plan for the Rancho
San Juan ADC because:

a. the GSAP element of the General Plan, as the
constitution for development in the County, prohibits any
discretionary development within the ADC prior to adoption
of a Specific plan for the entire ADC;

b. Respondents‘ CAO has expressly stated
County's position in a meeting attended by representatives
of all affected County departments, that Respondents will
not further process the Specific Plan and EIR for the ADC
until the General Plan update has been completed, and that
if Petitioner wishes to submit its own Specific Plan and
EIR, County's Planning Department will recommend denial of
said plan if brought to a hearing before completion of the
County General Plan update process; and

-- Respondent have previously tabled and
refused to further proGess Petitioner's North Monterey
Heights combined development permit for a preliminary map, a
rezoning and a General Plan amendment seeking to remove the
GSAP requirement for an overall ADC Specific Plan prior to
the processing of any discretionary development
applications.

FIRST CAUSE OF ACTION

(For Writ of Mandate [C.C.P. Section 1085]
To Compel Specific Plan Processing)

46. Petitioner realleges and incorporates by reference
herein, the allegations contained in Paragraphs 1 through

45, inclusive, hereof.

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47. The County’s cessation of and refusal to
recommence preparation and processing of the Specific Plan
and the EIR constitute a prejudicial abuse of discretion.
Specifically, Respondents failed to proceed in a manner
required bv law, thereby depriving Petitioner HYH of its
federal constitutional rights to due process and equal
protection in a manner which violates Petitioner’s civil
rights, in that:

a. The Monterey County Planning and Building
Inspection Department as the planning agency of the County,
and the Board as the legislative body of the County, failed
to complete Specific Planning for the Rancho San Juan ADC,
as previously directed by the legislative body for the
systematic implementation of the Rancho San Juan area of the
General Plan. The County thereby violated its statutory
duty under Title 7, Article 8, section 65450 /of the
California Government Code;

b. Respondents have ceased and refused to resume
County’s preparation and processing of the Specific Plan and
EIR until after County updates its General Plan, while at
the same time refusing for thirteen (13) years as a matter
of General Plan policy to allow any discretionary
development within the ADC until a Specific Plan has been
adopted and an EIR certified for the ADC;

c. Respondents have refused to perform their |
ministerial duties to prepare, process and certify an EIR

for the Specific Plan project as required by the California

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Environmental Quality Act ("CEQA");

qd. Respondents have refused to exercise their
discretion with respect to the adoption of a Specific Plan
and the certification of an EIR for the ADC;

e. Respondents have rescinded existing zoning
for the ADC and failed to rezone property in the ADC,
including the HYH Property, for a period of six {6) years.
Said action placed the ADC and'the HYH Property in a zoning
"White Hole" inconsistent with the General Plan and GSAP

land use designations for said properties;

L- f. -Respondents, by ceasing and refusing to

prepare and adopt the Specific Plan and to certify the EIR,
have acted contrary to the requirements of the MOU, the
Settlement Agreement and the Plan Preparation Agreement; and
g. County’s determination not to prepare and
process an EIR until after update of its General Plan is
inconsistent with state planning and zoning law and a breach
of the Settlement Agreement provision requiring said plan to
be prepared in accordance with "then existing land use
regulations", i.e., those regulations in effect at the time
the Plan Preparation Agreement was entered or the North
Monterey Heights application was accepted by County.

48. Petitioner has no plain, speedy or adequate remedy
in the ordinary course of law unless the Court grants to
Petitioner a Writ of Mandate to require the Respondents to
comply with their legal duties to prepare, process and adopt

a Specific Plan for the Rancho San Juan ADC. In the absence

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of such remedies, the Respondents’ failure to process and
adopt a Specific Plan will remain in violation of State law.
If Respondents are not so ordered to undertake such action,
Petitioner will suffer irreparable harm for which there is

no adequate remedv at law, in that County will update its

‘General Plan in a manner that may be, inter alia,

inconsistent with the specific planning which has already
been done for the ADC at Petitioner’s expense. Said updated
General Plan may aiso rescind the ADC designation of the
Rancho San Juan area, including the HYH Property, and will
cause Petitioner further unreasonable delay and damage.
Moreover, until County adopts a Specific Plan and consistent
zoning for the ADC, Petitioner remains unable to determine
and apply for allowable uses of the HYH Property.

49. Failure to implement the ADC by adopting a
Specific Plan and zoning as contemplated in the General
Plan, GSAP, Plan Preparation Agreement, Settlement Agreement
and MOU will irxreparably harm the regional public welfare,
in that planned and orderly growth will not occur as
planned, thereby undermining adopted General Plan goals and
objectives, including, but not limited to, the provision of
regional and County long-term needs for residential and
economic growth, farmlands and resource conservation,
balanced jobs and housing, and development levels consistent
with Long-term safe water yields.

50. Petitioner seeks a peremptory writ of mandate

directing Defendants County and Does I through XX,

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inclusive, to prepare and adopt a Snecifie Plan for the ADC.
51. Petitioner's cause of action for mandamus is not a
claim for money or damages within the meaning of Government
Code Sections 905 and 905.2, and is not subject to claims
presentation requirements.
SECOND CAUSE OF ACTION
(For Writ of Mandate [C.C.P. Section 1085]

to Compel Compliance with Public Resources Code,
Division 13 (California Environmental Quality Act))

52. Petitioner realleges and incorporates by reference

herein the allegations contained in paragraphs 1 through 51,

inclusive, hereof.

53. The California Public Resources Code, Division 13
("CEQA"), sets forth mandatory procedures to be performed by
local governments. Representative of those procedures are
those set forth in Public Resources Code Sections 21082.2
and 21100.

54. In particular, Section 21082.2, subd.{d) requires,
inter alia, that an BIR must be prepared whenever a proposed
project may have a significant effect on the environment.
Sections 21082.1, subd. (a), and 21100, subd. (a) require,
inter alia, that when an EIR is required, the lead agency is
responsible for preparing it. Sections 21100 and 21151,
together with 14 California Code of Regulations section
15064{a) (1) and (f) (1) provide that an agency must prepare
an EIR whenever a non-exempt project may cause a siqnificant
effect on the environment. .

55. County has arbitrarily and capriciously failed to

proceed as required by law by its refusal to comply with its

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mandatory obligations under the California Public Resources
Code, Division 13, to prepare, process and adopt a final EIR
for the ADC Specific Plan.

56. County's final decision to adopt a negative
declaration for Ordinance No. 04037 in the face of record
evidence raising a fair argument that potentially
significant impacts of said action would not be reduced to a
level of insignificance is not supported by substantial
evidence and is therefore arbitrary and capricious.

57. Respondents’ failures to comply with CEQA as
described herein have denied important public rights
affecting the public interest.

58. Petitioner’s representatives and others made oral
and written comments on the negative declaration for
Ordinance No. 04037 and raised at the administrative level
each of the legal deficiencies asserted in this Petition.

59. Petitioner performed all conditions precedent to
filing this action by complying with the requirements of
California Public Resources Code section 21167.5 in mailing
notice of this action to County on November 5, 1999,
attached hereto as Exhibit "G", and incorporated by
reference herein.

60. Petitioner is informed and believes, -and thereon
alleges that as of November 4, 1999, Respondents had not
filed with the County Clerk a Notice of Determination
pursuant to Public Resources Code section 21152 and 14.

California Code of Regulations section 15075 following the

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adoption of the negative declaration for Ordinance No.
04037.

61. Petitioner has no plain, speedy or adequate remedy
in the ordinary course of iaw unless the Court grants to
Petitioner a Writ of Mandate to require the Respondents to
comply with their legal duties to certify an EIR for the
Rancho San Juan ADC. In the absence of such remedy, the
Respondents’ failure to certify an EIR will remain in
violation of State law. If the Respondents are not so
ordered to undertake such action, Petitioner will suffer
irreparable harm for which there is no adequate remedy at
law, in that County will update its General Plan in a manner
that may be, iter alia, inconsistent with the specific
planning and the CEQA analysis which has already been done
for the ADC at Petitioner's expense. Said updated General
Plan may also rescind the ADC designation of the Rancho San
Juan area, including the HYH Property, and will cause ADC
property owners, including HYH, further unreasonable delay
and damage. Moreover, until County certifies an EIR for an
ADC Specific Plan and rezoning, property owners in the ADC,
including HYH, will be unable to determine and apply for
allowable uses of their property and the ADC will not be
implemented.

62. Failure to implement the ADC by adopting a
Specific Plan and zoning as contemplated in the General
Plan, GSAP, Plan Preparation Agreement, Settlement Agreement

and MOU will irreparably harm the environment, in that

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planned and orderly growth will not occur as planned,
thereby undermining adopted General Plan goals and
objectives, including, but not limited to, the provision of
regional and County long-terms need for residential and
economic growth, farmlands and resource conservation,
balanced jobs and housing, and development levels consistent
with long-term safe water yields.

63. Petitioner seeks a writ of mandate directing the
County to resume preparation and processing of and to
certify the EIR for the ADC Specific Plan and a rezoning of
ADC property within a reasonable time.

64. Petitioner’s cause of action for mandamus is not a
claim for money or damages within the meaning of Government
Code Sections 905 and 905.2, and is not subject to claims
presentation requirements.

TEERD CAUSE OF ACTION

(For Writ of Mandate [C.C.P. Seation 1085]
To Compel County Adoption of ADC Zoning)

65. Petitioner realleges and incorporates by reference
herein the allegations contained in paragraphs 1 through 64,
inclusive, hereof.

66. California Government Code, Title 7, Division 1,
sets forth mandatory requirements for local zoning
ordinances.

67. In particular, Government Code Section 65860,
requires, inter alia, that County zoning ordinances shall be
consistent with the County General Plan.

68. County has failed and refused to comply with its

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mandatory obligations under the Government Code, Title 7,
Division 1, by rescinding the zoning for the ADC and failing
to take steps to adopt zoning consistent with the GSAP,
through preparation and adoption of a Specific Plan or
otherwise, with the result that HYH has been and continues
to be injured in the manner described hereinabove.

69. Petitioner has no plain, speedy or adequate remedy
in the ordinary course of law unless the Court grants to
Petitioner a Writ of Mandate to require the Respondents to
comply with their legal duties to adopt zoning for the
Rancho San Juan ADC consistent with the GSAP component of
tne General Plan. In the absence of such remedy,
Respondents’ failure to adopt zoning will remain in
violation of State law. If Respondents are not so ordered
to undertake such action, Petitioner will suffer irreparable
harm for which there is no adequate remedy at law, in that
County will update its General Plan in a manner that may be,
inter alia, inconsistent with the specific planning which
has already been done for the ADC at Petitioner's expense.
Said updated General Plan may also rescind the ADC
designation of the Rancho San Juan area, including the HYH
Property, and will cause Petitioner further unreasonable
delay and damage.

70. Failure to implement the ADC by adopting a
Specific Plan and zoning as contemplated in the General
Plan, GSAP, Plan Preparation Agreement, Settlement Agreement

and MOU will irreparably harm the reqional public welfare,

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in that planned and orderly growth will not occur as
planned, thereby undermining adopted General Plan goals and
objectives, including, but not limited to, the provision of
regional and County long-term needs for residential and
economic growth, farmlands and resource conservation,
balanced jobs and housing, and development levels consistent
with long-term safe water yields.

71. Petitioner seeks a writ of mandate directing the
County to adopt effective and constitutional zoning for the
HYH Property within a reasonable time consistent with the
GSAP policies and guidelines in effect as of the March 22,
1994 date of the Plan Preparation Agreement.

72. Petitioner's cause of action for mandamus is not a
claim for money or damages within the meaning of Government
Code Sections $05 and 905.2, and is not subject to claims
presentation requirements.

FOURTH CAUSE OF ACTION
(For Writ of Mandate [C.C.P. Section 1085]

To Rescind or Amend Ordinance No. 04037
Based on Facial Constitutional and Statutory Defects )

73. Petitioner realleges and incorporates by reference
herein, the allegations contained in paragraphs 1 through
72, inclusive, hereof.

74, County’s Ordinance No. 04037 amending the County
Subdivision Ordinance, Title IX, prohibiting the
establishment of water supply based on a reduction of
existing agricultural water use on a parcel outside of a
subdivision map application constituted a prejudicial abuse

of discretion. Specifically, the County and the Board

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failed to proceed in a manner required by law, in that
Ordinance No. 04037 appears on its face and by its terms to
be inconsistent with the systematic implementation of
County's General Plan, Growth Management Policy and GSAP
requirements for the ADC, as previously directed by the
legislative body. Such implementation requires the
preparation and adoption of a Specific Plan for the entire
ADC. County prepared a Scope of Work for said Specific Plan
and its EIR-which required consistency with the Feasibility
Study, including the development guidelines thereof.
Because of water resources constraints, the Feasibility
Study recommended a Preferred Alternative that reduced
residential density to 1.85 units per acre. The development
guidelines of the Feasibility Study further limited
groundwater use to 1,950 acre feet per year overall,
specifying that groundwater consumption should cease for
existing agricultural uses when the Specific Plan is
approved. -County Counsel opined that Ordinance No. 04037
was inimical to the implementation of the above-described
planning pursuant to the General Plan. As an inferior
ordinance inconsistent with the implementation of General
Plan, County’s adoption of Ordinance No. 04037 was void ab
initio .

75. Nothing in Ordinance No. 04037 or the County
Subdivision Ordinance authorizes the County to consider an
application for a variance, exception or deviation from the

amendment provisions enacted by said Resolution.

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76. Petitioner has no plain, speedy or adequate remedy
in the ordinary course of law unless the Court grants to
Petitioner a Writ of Mandate to require the Respondents to
comply with their legal duties to rescind or amend Ordinance
No. 04037 to the extent required to render it consistent
with the superior provisions of the General Plan and Area
plans. If Respondents are not so ordered to undertake such
action, Petitioner will suffer irreparable harm for which
there is no adequate remedy at law, in that the specific
planning done by County at Petitioner’s expense and the
implementation of the GSAP policies and guidelines for the
ADC will be inconsistent with County’s Subdivision
Ordinance, and will cause Petitioner further unreasonable
delay and damage. Moreover, until County adopts a Specific
Plan and consistent zoning for the ADC, Petitioner remains
unable to determine dnd apply for allowable uses of the HYH
Property.

77. Failure to implement the ADC by adopting a
Specific Plan and zoning as contemplated in the General
Plan, GSAP, Plan Preparation Agreement, Settlement Agreement
and MOU will irreparably harm the regional public welfare,
in that planned and orderly growth will not occur as
planned, thereby undermining adopted General Plan goals and
objectives, including, but not limited to, the provision of
regional and County long-term needs for residential and
economic growth, farmlands and resource conservation,

balanced jobs and housing, and development levels consistent

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with long-term safe water yields.

78. Petitioner seeks a peremptory writ of mandate
directing Defendants County and Does I through Xx,
inclusive, to rescind or amend Ordinance No. 04037, in order
to except from its provisions any subdivision application
processed in accordance with an adopted Specific Plan for
the ADC.

79. Petitioner’s cause of action for mandamus is not a
claim for money or damages within the meaning of Government
Code Sections 905 and 905.2, and is not subject to claims

presentation remirements.

FIRTH CAUSE OF ACTION
(Declaratory Relief Be County Duty to Prepare, Process and
Adopt A Specific Plan/ Certify an EIR and Adopt Zoning)

80. Petitioner realleges and incorporates by reference
herein the allegations contained in paragraphs 1 through 79,
inclusive, hereof.

81. An actual controversy has arisen and now exists
between Petitioner on the one hand and Respondents on the
other relative to their respective rights and duties as
hereinabove set forth. Petitioner contends that, in view of
all attendant facts and circumstances, it is entitled to
have County, within a reasonable time, prepare, process and
adopt a Specific Plan, certify an BIR and adopt zoning, all
consistent with the GSAP policies and guidelines in effect
as of the March 22, 1994 date of the Plan Preparation
Agreement, or earlier. Petitioner is informed and believes,

and on the basis of such information and belief alleges,

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that the Respondents take the position in this matter
contrary to that of Petitioner.

82. Petitioner desires a judicial determination of its
rights and duties arising out of all of the facts and
circumstances hereinabove set forth. Such a declaration is
necessary and appropriate at this time for the reason that
Petitioner is irreparably injured and will continue to
suffer irreparable injury until such time as such
declaration is made.

83. Petitioner’s cause of action for declaratory
relief is not a claim for money or damages within the
meaning of Government Code Sections 905 and 905.2, and is
net subject to claims presentation requirements.

 sTxTH CAUSE OF ACTION

(Declaratory Relief -
Ordinance No. 04037 is Invalid, Null and Void Ab Initio)

84. Petitioner realleges and incorporates by reference
herein the allegations contained in paragraphs 1 through 83,
inclusive, hereof.

85. An actual controversy has arisen and now exists
between Petitioner on the one hand and Respondents on the
other relative to their respective rights and duties as
hereinabove set forth. Petitioner contends that Ordinance
No. 04037 is invalid and null and void on its face and/or as
applied to the ADC and the HYH Property, inasmuch as it is
inconsistent with the provisions of the GSAP requiring a
Specific Plan for overall development planning of the ADC,

and is therefore subordinate to said plan policies.

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Petitioner is informed and believes, and on the basis of
such information and belief alleges, that the Respondents
take the position in this matter contrary to that of
Petitioner.

86. Petitioner desires a declaration that Ordinance
No. 04037 is on its face inconsistent with and subordinate
to the superior General Plan and GSAP policies and
guidelines for the ADC, and therefore invalid, null and void
ab initio as applied to the processing, adoption and
implementation of a Specific Plan for the ADC, including the
subsequent subdivision and development of properties
therein.

87. Petitioner's cause of action for declaratory
relief is not a claim for money or damages within the
meaning of Government Code Sections 905 and 905.2, and is
not subject to claims presentation requirements.

SEVENTH CAUSE OF ACTION
(Denial of Equal Protection of the Law -

Fourteenth Amendment of the
Constitution of the United States)

88. Petitioner realleges and incorporates by reference
herein the allegations contained in paragraphs 1 through 87,
inclusive, hereof.

89. Petitioner has been arbitrarily, wrongfully,
unlawfully and unreasonably denied processing of
Petitioner’s 1989 application for the development of North
Monterey Heights as a result of County’s cessation of and
failure to recommence processing of the Specific Plan which

was established by County as a prerequisite to development

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within the ADC. In contrast, other property owners in
Monterey County, including other owners of property within
the area subject to the Greater Salinas Area Plan, were
permitted to process applications for land use approvals
necessary to develop their properties. Additionally, County
has not objected to developments approved by the City of
Salinas which are identified in the MOU, and later
amendments thereto, as consideration for acknowledging the
County’s authority to approve development’ within the ADc.
Nor has County defended its ADC Specific Plan and EIR or its
rights under the MOU against criticisms and recommendations
by the City of Salinas that, contrary to the provisions of
the MOU, County should not authorize any development within
the ADC.

90. By their arbitrary and wrongful acts herein
described, Respondents have attempted unreasonably to
prevent planning for and development of Petitioner's
property. In so doing, Respondents have treated Petitioner
in a discriminatory and unequal mamner as opposed to the
owners of comparable properties in the County and the GSAP
area, in violation of the Fourteenth Amendment of the
Constitution of the United States.

91. As a direct and proximate result of the County’s
violations of the United States Constitution, Petitioner has
suffered damages and is entitled to recover damages in an
amount according to proof at trial together with its

reasonable attorneys’ fees and costs as determined by the

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Court.

92. Petitioner's cause of action based on denial of
equal protection is not a claim for money or damages within
the meaning of Government Code Sections 905 and 905.2, and,
is not subject to claims presentation requirements.

EIGHTH CAUSE OF ACTION. .
(Denial of Equal Protection of the Law -\ California Yaw)

93. Petitioner realleges and incorporatés~by _xeference
herein the allegations contained in paragraphs 1 through 92,
inclusive, hereof.

94. As a result of the arbitrary and wrongful acts
herein described, Respondents have treated Petitioner in an
invidiously discriminatory manner as opposed to other
properties and persons in the same general area, in
violation of equal protection provisions of the Constitution
of the State of California.

95. As a direct and proximate result of the County’s
violations of the Constitution of the State of California,
Petitioner has suffered damages and is entitled to recover
damages in an amount according to proof at trial together
with its reasonable attorneys’ fees and costs as determined
by the Court.

96. Petitioner's cause of action based on denial of
equal protection is not a claim for money or damages within
the meaning of Government Code Sections 905 and 905.2, and
is not subject to claims presentation requirements.

NINTH CAUSE OF ACTION

(Denial of Due Process of Law -
Fifth and Fourteenth Amendments

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1 of the Constitution of the United States)

2 97. Petitioner realleges and incorporates by reference
3| herein the allegations contained in paragraphs 1 through 96,
4 inclusive, hereof.

5 98. Considered together, the following actions and

6] inactions of Respondents, taken together, constitute an

7| invalid exercise of the police power, inasmuch as they

8; damage the HYH Property, depriving Petitioner of the right
9| to determine the uses to which its property may be put and
10) to seek approvals for such uses, in violation of the Fifth
ti] and Fourteenth Amendments of the Constitution of the United
12} States:

13 a. Respondents’ cessation of and determination
i4} not to further process Petitioner's Combined Development

15] Application for North Monterey Heights until County adopted
16] a Specific Plan for the ADC;

17 , b. Respondents’ delay of more than seventeen

18; (17) years since the General Plan designation of the ADC as
19] a Study Area, and more than thirteen (13) years since the
20| formal GSAP designation of said area as an ADC, without

21] County implementation of said ADC through adoption of a

22| Specific Plan and BIR which County’s GSAP establishes as a
23| prerequisite to any discretionary development in the ADC;

24 . c. Respondents’ rescission of the existing ADC
25) zoning and the effective placement of the ADC, including

26| Petitioner’s property, in a zoning "White Hole" since 1993;

27 and
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1 d. Respondents’ cessation of and refusal to

2| resume processing of the Specific Plan and EIR in violation
3| of the Plan Preparation Agreement, the Settlement Agreement
4] and the MOU.

5 99. As a direct and proximate result of the

6]/ Respondents’ above-described violations of the United States
7 constitution, Petitioner has suffered damages and is

8] entitled to recover damages in an amount according to proof
9] at trial together with its reasonable attorneys’ fees and
10| costs as determined by the Court.

11 100. Petitioner’s cause of action based upon a denial
12] of due process of law is not a claim for money or damages
13] within the meaning of Government Code Sections 905 and

14} 905.2, and is not subject to claims presentation

15] requirements.

16 TENTH CAUSE OF ACTION

(Violation of Civil Rights - 42 U.S.C. section 1983)
0 101. Petitioner realleges and incorporates by reference
_ herein the allegations contained in paragraphs 1 through
° 100, inclusive, hereof.
* 102. Petitioner has been arbitrarily, wrongfully,
" unlawfully and unreasonably denied County processing of
” Petitioner's 1989 application: for the development of North
° Monterey Heights and the ability to determine and apply for
" allowable uses of its property by Respondents’ actions and
° inactions:
26

a. County has ceased and refused to recommence

27

preparation, processing and adoption of the Specific Plan

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ij which was established by County as a prerequisite to

2| development within the ADC, denying Petitioner the right to
3} seek any discretionary development approval for a period of
4, thirteen (13) years. In contrast, other property owners in
5] Monterey County, and specifically other owners of property
6] within the area subject to the GSAP were permitted the

7 opportunity to apply for development of their properties;

8 b. County has rescinded the zoning for the HYH

9f Property and placed it in a zoning "White Hole" for six (6)
10) years. At the same time the County has not objected to

11] developments approved by the City of Salinas which are

12] identified in the MOU as consideration for allowing the

13| County to approve development within the ADC; and

14 c. County’s adoption of Ordinance No. 04037

15; enacting amendments to the Subdivision Ordinance

16) inconsistent with the Greater Salinas Area Plan, the Plan
17| Preparation Agreement, Settlement Agreement, the MOU, and
ig} the requirements of CEQA.

19 103. By their arbitrary and wrongful acts herein

20]; described, Respondents have attempted unreasonably to

21) prevent planning for and development of the HYH Property.

22] In so doing, Respondents have acted under color of state law
23| to treat Petitioner in a discriminatory and unequal manner
24] as opposed to the owners of comparable properties in the

25 GSAP area, in violation of Petitioner's federal

26) Constitutional and statutory rights.

27 104. As a direct and proximate result of Respondents’

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1] actions hereinabove described, Petitioner has been deprived
2]. of federal constitutional and statutory rights and is

3# entitled to recover damages in an amount according to proof
4 at trial together with its reasonable attorneys’ fees and

5] costs as determined by the Court.

6 105. Petitioner's cause/pf,actign baged on 42 U.S.c.

7] section 1983 is not a claim for money or damages within the
§| meaning of Government Code Sections 905 and 905.2, and is

9} not subject to claims presentation requirements.

10 ELEVENTH CAUSE OF ACTION
(Inverse Condemnation - Taking of Private
11 Property Without the Payment of Just Compensation)
12 106. Petitioner realleges and incorporates by reference

13] herein the allegations contained in paragraphs 1 through

14] 105, inclusive, hereof.

15 107. By reason of the foregoing, the HYH Property and
i6| the funds previously expended by Petitioner pursuant to the
17 Plan Preparation Agreement for reports, plans, studies, and
i8| improvements, have been taken for public use, without the

19| payment of just compensation as required by the Fifth and

20] Fourteenth Amendments of the Constitution of the United

21/| States and Article 1, Section 19 of the Constitution of the
22 State of California, in that the HYH Property has been taken
23] or damaged by Respondents’ following actions and inactions:
24 a. refusal to implement the ADC, including

25|| County’s failure and refusal to prepare and adopt a Specific
26} Plan and certify an EIR that would permit Petitioner to

27 determine the allowable uses of its property and to apply

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for approval of such uses;

b. denial of Petitioner's reasonable investment-
backed expectations premised on the General Plan, the Growth
Management Policy, the GSAP designation of Rancho San Juan
as an area of development concentration with specified
densities and uses, the MOU, the Settlement Agreement, and
the Plan Preparation Agreement;

ec. adoption of Ordinance No. 04037 to the extent
it is inconsistent with the implementation of the ADC
required by County’s General Plan and GSAP as a prerequisite
to development of ADC property, including the HYH Property;

d. rescission of existing zoning for the ADC and
failure to rezone property in the ADC, including the HYH
Property, for a period of six (6) years; and

e. breach of the Plan Preparation Agreement, the
Settlement Agreement and the MOU, by ceasing and refusing to
prepare and adopt the Specific Plan and to certify the EIR
for the Rancho San Juan ADC after compelling HYH to pay over
half a million dollars to fund these studies and the .
settlement of the CCMC litigation.

108. Petitioner is informed and believes, and thereon
alleges that all times herein mentioned, Respondents, and
each of them, were acting on behalf of the County, and
Petitioner's property was taken by virtue of those acts on
behalf of and for the use of the County.

109. By reason of the foregoing, Petitioner has been

damaged and is entitled to compensation from Respondents,

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1} and each of them, in a sum which represents the fair market
2} value of the HYH Property, together with interest thereon at
3] the prevailing market rate. Petitioner has not yet

4] ascertained said fair market value, and prays leave of the

5} Court to amend this Petition and Complaint when such value

6| is accurately ascertained. Such value is greatly in excess
7| of any jurisdictional amount. Petitioner is also entitled

81 to compensation (including interest) of the sums HYH

9] advanced pursuant to the Plan Preparation Agreement for the
10| planning and studies that County now refuses to conclude.

11 110. As result of Respondent’s wrongful conduct as set
12] forth above, it has been necessary for Petitioner to engage
13} attorneys and incur expenses of legal counsel to enforce its
14] right to just compensation. It will also be necessary for
15 Petitioner to incur further reasonable costs, disbursements,
164] and expenses, including reasonable appraisal and engineering
17] fees, to enforce its right to just compensation.

18 11iL. As a direct and proximate result of the

19] Respondents’ violations of the Constitutions of the United
20] States and the State of California and of California law,

21] Petitioner has suffered damages and is entitled to recover
22| damages in an amount according to proof at trial together

23] with its reasonable attorneys’ fees and costs as determined
244 by the Court.

25 112. Petitioner’s cause of action for inverse

26] condemnation based on regulatory taking is not a claim for

27 money or damages within the meaning of Government Code

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Sections 905 and 905.2, and is not subject to claims
presentation requirements.

TWELFTH CAUSE OF ACTION
(Inverse Condemnation - Damages for Delay)

113. Petitioner realleges and incorporates by reference
herein the allegations contained in paragraphs 1 through
112, inclusive, hereof.

1i4. By reason of the foregoing, the HYH Property and
the funds previously expended by HYH pursuant to the Plan
Preparation Agreement for reports, plans, studies, and
improvements, have thus far been taken for public use,
without the payment of just compensation as required by the
Fifth and Fourteenth Amendments of the Constitution of the
United States and Article 1, Section 19 of the Constitution
of the State of California, in that the HYH Property has
been taken or damaged and Petitioner has been deprived of
the right to determine its ability to develop or to develop
its property for the last thirteen (13) years. The above-
described actions and inactions of Respondents are beyond
the lawful and proper scope of its legitimate powers and are
confiscatory and constitute a taking and/or damaging of the
HYH Property.

115. Petitioner has been damaged because, as more fully
alleged hereinabove, Respondents, and each of them, have
unconscionably delayed development of the HYH Property for a
period in excess of thirteen (13) years from the date of the
GSAP adoption, in that Respondents have:

a. Rescinded and failed to reestablish zoning

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i} for the ADC and the HYH Property for a period of six (6)

2} years; and

3 b. Ceased and refused to recommence preparation,
4| processing and adoption of the County initiated Specific

5| Plan and EIR, in violation of Respondents’: statutory duties
6} and in breach of the requirements of the General Plan, the
7| GSAP, the MOU, the Settlement Agreement and the Plan

8} Preparation Agreement, while at the same time refusing for
9] thirteen (13) years, as a matter of General Plan policy, to
10 process HYH’s application for development of North Monterey
11] Heights or to allow any discretionary development within the
12] ADC until a Specific Plan has been adopted and an FIR

13} certified for said area;

14 Cc. Failed to adopt zoning consistent with the
15] implementation of the ADC required by County’s General Plan
16] and GSAP as a prerequisite to development of ADC property,
17] including the HYH Property; and

18 d. Breached the Plan Preparation Agreement, the
19, Settlement Agreement and the MOU, by failure to rezone the
20) entire ADC property, including the HYH Property.

21 116. Petitioner is informed and believes, and thereon
22] alleges that all times herein mentioned, Respondents, and
23| each of them, were acting on behalf of the County, and that
24 the HYH Property was taken or damaged by virtue of those

25 acts on behalf of and for the use of the County.

26 117. As result of Respondents’ wrongful conduct as set
27| forth above, it has been necessary for Petitioner to engage

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attorneys and incur expenses of legal counsel to enforce its
right to just compensation. It will also be necessary for
Petitioner to incur further reasonable costs, disbursements,
and expenses, including reasonable appraisal and engineering
fees, to enforce its right to just compensation.

118. As a direct and proximate result of the foregoing,
Petitioner has been damaged and is entitled to compensation
from Respondents, and each of them, in a sum which
represents the fair market value of the loss of use of the
HYH Property during the thirteen (13) year delay, together
with interest thereon at the prevailing market rate.
Petitioner has not yet ascertained said fair market value,
and prays leave of the Court to amend this Petition and
Complaint when such value is accurately ascertained. Such
value is greatly in excess of any jurisdictional amount.

119. Petitioner's cause of action for inverse
condemnation based on regulatory taking is not a claim for
money or damages within the meaning of Government Code
Sections 905 and 905.2, and is not subject to claims
presentation requirements.

THIRTEEN CAUSE OF ACTION
(Estoppel)

+20. Petitioner realleges and/Ancorporates by reference
herein the allegations contained in paragraphs 1 through
119, inclusive, hereof.
121. Petitioner has relied to its detriment on promises
and representations of Respondents in their capacity as

authorized officials of County, and based on such reliances,

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changed its position to its detriment. In reliance upon the
Respondents’ deferral of processing of the North Monterey
Heights application until a Specific Plan had been prepared,

and in further reliance upon the Settlement 4-~-->ment, the

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Reimbursement Ordinance, the Plan Preparation Agreement, the

Feasihilityv Study and the Memorandum of Understanding

between County and the City of Salinas, Petitioner
reasonably believed that the HYH Property was suitable for
development and that a Specific Plan would be processed and
adopted and an EIR certified for the ADC if Petitioner would
advance funding for the preparation of said Specific Plan
and EIR. Thereafter, in reliance on the County's
representations that a Specific Plan would be timely
processed and adopted and an EIR certified, so that
processing of the North Monterey Heights application could
resume, Petitioner: a) acceded to an obligation to pay to
County a proportionate share of the cost of County’s
Feasibility Study for the ADC; and b) advanced monies
amounting to more than half a million dollars for the
preparation cf County's Specific Plan and EIR over a period
of more than five (5) years; and c) paid monies for the
express benefit of County to settle the CCMC litigation
against County under an agreement that required preparation
of a Specific Plan and EIR.

122, Respondents are thus estopped to deny that
Petitioner has acquired a right to have County expeditiously

complete the preparation, processing and adoption of a

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legally adequate Specific Plan and effective, constitutional
zoning, and to certify an EIR for the ADC, all consistent
with the GSAP policies and guidelines in effect as of the
March 22, 1994 date of the Plan Preparation Agreement, or
earlier.

123. Petitioner’s cause of action for estoppel is not a
claim for money or damages within the meaning of Government
Code Sections 905 and 905.2, and is not subject to claims
presentation requirements.

PRAYER

WHEREFORE, Petitioner prays for judgment against
Defendants, and each of them, as follows:

A. On the First Cause of Action, fer—~extraordigary *
relief in the nature of mandamus /or injunetion/divecting
Respondents to expeditiously preparé;—precéss and adopt a
legally adequate Specific Plan for the Rancho San Juan ADC
in accordance with the existing GSAP, the Plan Preparation
Agreement and the Settlement Agreement;

B. On the Second Cause of Action. for extraordinary
relief in the nature of mandamus or injunction Mirecting
Respondents to expeditiously prepar@;—~proceSs and certify a
legally adequate EIR for the Rancho San Juan ADC Specific
Plan in accordance with the Plan Preparation Agreement, the
Settlement Agreement and CEQA;

Cc. On the Third Cause of Action, for extraordinary
relief in the nature of mandamuslor injunctioh directing

Respondents to adopt effective and\constittitional zoning for

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the HYH Property within a reasonable time, consistent with
the GSAP policies and guidelines in effect as of the date of
the Rezoning;

D. On the Fourth Cause of Action, for extraordinary
relief in the nature of mandamus or intunct don directing
Respondents to rescind or amend ordinance No’. 04037, in
order to except from its provisions any subdivision
application processed in accordance with an adopted Specific
Plan for the ADC;

E. On the Fifth Cause of Action, in the alternative
to the First, Second and Third Causes of Action, for
declaratory relief in the form of a judgment declaring that
Defendants have a duty to expeditiously prepare, process and
adopt a legally adequate Specific Plan and FIR and to
establish constitutional zoning for the ADC, all consistent
with the GSAP policies and guidelines in effect as of the
March 22, 1994 date County adopted the Plan Preparation
Agreement, or earlier, and in addition. to he comnensated
for Petitioner's losses of use, value, and damadee
heretobefore described and suffered, with interest thereon;

F. On the Sixth Cause of Action, in the alternative
to the Pourth Cause of Action, for declaratory relief in the
form of a judgment declaring that Ordinance No. 04037 is
invalid and null and void on its face and/or as applied to
development within the ADC and the HYH Property;

G. On the Seventh, Highth and Ninth Causes of Action

for constitutional violations, damages in an amount

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according to proof at trial;

H. On the Tenth Cause of Action for violation of
civil rights, for damages in an amount according to proof at
trial;

L. On the Eleventh Cause of Action for
unconstitutional taking of private property, for damages in
an amount according to proof at trial;

ad. On the Twelfth Cause of Action for
unconstitutional delay, for damages in an amount according
to proof at trial;

K. On the Thirteenth Cause of, Action for estoppel,
for a judgment declaring that Respondents are estopped to
deny that Petitioner has acquired a right to have County
expeditiously complete the preparation, processing and
adoption of a legally adequate Specific Plan and EIR and to
establish constitutional zoning for the ADC, all consistent
with the GSAP policies and guidelines in effect as of the
March 22, 1994 date of the Plan Preparation Agreement, or
earlier.

OTHER RELIEF

Li. For costs of suit arising from the prosection of
this action.

M. For reasonable attorneys fees, expert fees and
other reasonable expenses of litigation;

N. For interest at the proper rate on all the
foregoing compensation, losses, damages and expenditures;

and

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O. For such other, further and additional relief,
alternatively and cumulatively, as the Court may deem

appropriate in the premises.

Date: Novess ber 1O, 1999 HORAN, LLOYD LAW OFFICES

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Mark A. Blum
Attorneys for Petitioner

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VERIFICATION

I, , am the petitioner in the above-

entitled proceedings. I have read the foregoing petition and
know the contents thereof. The same is true of my own
knowledge, except as to those matters which are therein
stated on information and belief, and as to those matters, I
believe to be true.

I declare under penalty of perjury under the laws of
the State of California that the foregoing is true and
correct.

HYH Corporation ZL
Moe Nobari
Its President

PETITION FOR WRIT OF MANDATE HYH v. COUNTY OF MONTEREY

